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 DEFENDANT:       RONALD KING

 AGE/YOB:         50/1974

 COMPLAINT        ______ Yes      ___X___ No
 FILED?
                  If Yes, MAGISTRATE CASE NUMBER_____________

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                  __ Yes    _X_ No


 OFFENSES:        Count 1: 18 U.S.C. § 1349 (conspiracy to commit wire fraud in
                  violation of 18 U.S.C. § 1343 and health care fraud in violation of 18
                  U.S.C. § 1347)

                  Count 2: 18 U.S.C. § 371 (conspiracy offer and pay kickbacks and
                  bribes in violation of 42 U.S.C. § 1320a-7b(b) and 18 U.S.C. § 220)

                  Count 3: 18 U.S.C. § 1956(h) (conspiracy to commit money
                  laundering in violation of 18 U.S.C. § 1956(a)(1)(B)(i))

 LOCATION OF      Boulder County, Colorado, and elsewhere
 OFFENSE:

 PENALTIES:       Count 1: NMT 20 years of imprisonment, a fine of NMT $250,000 or
                  twice the gross gain or loss from the offense, or both imprisonment
                  and a fine; 3 years’ supervised release; $100 special assessment;
                  restitution.

                  Count 2: NMT 5 years of imprisonment, a fine of NMT $250,000 or
                  twice the gross gain or loss from the offense, or both imprisonment
                  and a fine; 3 years of supervised release; $100 special assessment;
                  restitution.

                  Count 3: NMT 20 years of imprisonment, a fine of NMT $250,000 or
                  twice the gross gain or loss from the offense, or both imprisonment
                  and a fine; 3 years’ supervised release; $100 special assessment;
                  restitution.

 AGENTS:          Cory Rumple, Special Agent, HHS-OIG
                  Scott Sandusky, Special Agent, FBI
                  Benjamin Hopping, Special Agent, IRS-CI



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 AUTHORIZED         Anna Edgar
 BY:                Assistant U.S. Attorney

 ESTIMATED TIME OF TRIAL:

     five days or less; x over five days

 THE GOVERNMENT

 will not seek detention in this case.

 The statutory presumption of detention is not applicable to this defendant.




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